              Case 6:23-bk-14843-WJ                     Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                              Desc
                                                        Main Document Page 1 of 70
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________  District of _________________
     Central District of California      (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                              Chapter 11
                                                              Chapter 12
                                                              Chapter 13                                                  Check if this is an
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               12/22

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Hugo
                                        __________________________________________________           __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or         __________________________________________________           __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                Leon
                                        __________________________________________________           __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




                                        Hugo Humberto Leon Quijada
2.    All other names you
                                        T&S Transport, Inc.
      have used in the last 8
      years
       Include your married or
       maiden names and any
       assumed, trade names and
       doing business as names.

       Do NOT list the name of
       any separate legal entity
       such as a corporation,
       partnership, or LLC that is
       not filing this petition.




3.    Only the last 4 digits of                           1    8    9    0
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
             Case 6:23-bk-14843-WJ                         Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                                      Desc
               Hugo Leon
                                                           Main Document Page 2 of 70
Debtor 1        _______________________________________________________                              Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):


4.   Your Employer
                                       814963426
                                      _________________________________________________                    _________________________________________________
      Identification Number           EIN                                                                  EIN
      (EIN), if any.
                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN

                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN

                                      _________________________________________________                    _________________________________________________

                                      EIN                                                                  EIN




5.   Where you live                                                                                       If Debtor 2 lives at a different address:


                                           14181 Southwood Dr.                                            _________________________________________________
                                           _________________________________________________
                                           Number     Street                                              Number     Street


                                           _________________________________________________              _________________________________________________


                                           Fontana                              CA        92337
                                           _________________________________________________              _________________________________________________
                                           City                            State   ZIP Code               City                            State   ZIP Code

                                           San Bernardino County                                          _________________________________________________
                                           _________________________________________________
                                           County                                                         County


                                           If your mailing address is different from the one              If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send          yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                    any notices to this mailing address.


                                           _________________________________________________              _________________________________________________
                                           Number     Street                                              Number     Street

                                           _________________________________________________              _________________________________________________
                                           P.O. Box                                                       P.O. Box

                                           _________________________________________________              _________________________________________________
                                           City                            State   ZIP Code               City                            State   ZIP Code




6.   Why you are choosing                  Check one:                                                     Check one:
     this district to file for
     bankruptcy                            
                                           ✔ Over the last 180 days before filing this petition, I         Over the last 180 days before filing this petition, I
                                              have lived in this district longer than in any other           have lived in this district longer than in any other
                                              district.                                                      district.

                                            I have another reason. Explain.                               I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                        (See 28 U.S.C. § 1408.)




     Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                     page 2
              Case 6:23-bk-14843-WJ                         Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                                   Desc
                Hugo Leon
                                                            Main Document Page 3 of 70
 Debtor 1        _______________________________________________________                            Case number (if known)_____________________________________
                 First Name   Middle Name             Last Name




 Pa rt 2 :    T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.   The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                            
                                            ✔
                                              Chapter 7
                                             Chapter 11
                                             Chapter 12
                                             Chapter 13

 8.   How you will pay the fee              
                                            ✔
                                              I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                               local court for more details about how you may pay. Typically, if you are paying the fee
                                               yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                               submitting your payment on your behalf, your attorney may pay with a credit card or check
                                               with a pre-printed address.

                                             I need to pay the fee in installments. If you choose this option, sign and attach the
                                               Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                             I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                               By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                               less than 150% of the official poverty line that applies to your family size and you are unable to
                                               pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                               Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for    
                            ✔ No
      bankruptcy within the
      last 8 years?          Yes.             District ____________________________________________ When ______________ Case number __________________


                                               District ____________________________________________ When ______________ Case number __________________


                                               District ____________________________________________ When ______________ Case number __________________




 10. Are any bankruptcy                     
                                            ✔ No
      cases pending or being
      filed by a spouse who is         Yes.
      not filing this case with
      you, or by a business
      partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
      affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                 Debtor _________________________________________________                         R elationship to you ___________________________

                                 District _______________________________________________ When _______________ Case number, if known__________________


11. Do you rent your                        
                                            ✔ No.  Go to line 12.
      residence?                             Yes. Has your landlord obtained an eviction judgment against you?

                                                       No. Go to line 12.
                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                          this bankruptcy petition.




      Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
            Case 6:23-bk-14843-WJ                             Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                                   Desc
             Hugo Leon
                                                              Main Document Page 4 of 70
Debtor 1      _______________________________________________________                                 Case number (if known)_____________________________________
              First Name        Middle Name             Last Name




Pa rt 3 :   Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12. Are you a sole proprietor                 
                                              ✔ No. Go to Part 4.
    of any full- or part-time
    business?                                  Yes. Name and location of business
    A sole proprietorship is a
    business you operate as an                        _______________________________________________________________________________________
                                                      Name of business, if any
    individual, and is not a
    separate legal entity such as
    a corporation, partnership, or                    _______________________________________________________________________________________
                                                      Number    Street
    LLC.
    If you have more than one
                                                      _______________________________________________________________________________________
    sole proprietorship, use a
    separate sheet and attach it
    to this petition.                                 _______________________________________________         _______     __________________________
                                                       City                                                   State       ZIP Code


                                                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above
                                              If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
13. Are you filing under                      choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Chapter 11 of the                         are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
    Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
    are you a small business                  if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor or a debtor as
                                              
                                              ✔ No. I am not filing under Chapter 11.
    defined by 11 U.S. C. §
    1182(1)?                                   No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                      the Bankruptcy Code.
    For a definition of small
    business debtor, see                       Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
    11 U.S.C. § 101(51D).                             Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                               Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                 Bankrutpcy Code, and I choose to proceed under Subchatper V of Chapter 11.

Pa rt 4 :   Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m edia te Att e nt ion
14. Do you own or have any                    
                                              ✔ No
    property that poses or is
    alleged to pose a threat                   Yes. What is the hazard?
    of imminent and
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs
                                                        If immediate attention is needed, why is it needed?
    immediate attention?
    For example, do you own
    perishable goods, or livestock
    that must be fed, or a building
    that needs urgent repairs?
                                                        Where is the property?




   Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                page 4
            Case 6:23-bk-14843-WJ                          Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                                         Desc
             Hugo Leon
                                                           Main Document Page 5 of 70
Debtor 1      _______________________________________________________                                   Case number (if known)_____________________________________
              First Name     Middle Name             Last Name




Pa rt 5 :   Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                           About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
    you have received a
    briefing about credit                  You must check one:                                                You must check one:
    counseling.
                                           
                                           ✔ I received a briefing from an approved credit                     I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                         certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you               I received a briefing from an approved credit                     I received a briefing from an approved credit
    cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                         certificate of completion.
    If you file anyway, the court
                                              Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
    can dismiss your case, you
                                              you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
    will lose whatever filing fee
                                              plan, if any.                                                      plan, if any.
    you paid, and your creditors
    can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
    again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                              unable to obtain those services during the 7                       unable to obtain those services during the 7
                                              days after I made my request, and exigent                          days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                of the requirement.
                                              To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                              required you to file this case.                                    required you to file this case.
                                              Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                      You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                              may be dismissed.                                                  may be dismissed.
                                              Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                              days.                                                              days.

                                            I am not required to receive a briefing about                     I am not required to receive a briefing about
                                              credit counseling because of:                                      credit counseling because of:

                                               Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                 deficiency that makes me                                           deficiency that makes me
                                                                 incapable of realizing or making                                   incapable of realizing or making
                                                                 rational decisions about finances.                                 rational decisions about finances.
                                               Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                 to be unable to participate in a                                   to be unable to participate in a
                                                                 briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                 through the internet, even after I                                 through the internet, even after I
                                                                 reasonably tried to do so.                                         reasonably tried to do so.
                                               Active duty. I am currently on active military                    Active duty. I am currently on active military
                                                                 duty in a military combat zone.                                    duty in a military combat zone.
                                              If you believe you are not required to receive a                   If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




      Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                       page 5
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              Case 6:23-bk-14843-WJ                                          Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33 Desc
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              Case 6:23-bk-14843-WJ                                Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                                                           Desc
                                                                   Main Document Page 8 of 70

 Fill in this information to identify your case:

 Debtor 1
                     Hugo Leon
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Central District of California District of __________
                                                                                                (State)
 Case number         ___________________________________________                                                                                                          Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 550,000.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 94,291.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 644,291.00
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 461,785.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 0.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      + $ 270,038.00
                                                                                                                                                                          ________________


                                                                                                                                     Your total liabilities               $ 731,823.00
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 1,898.00
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 4,654.00
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
              Case 6:23-bk-14843-WJ                      Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                                    Desc
                  Hugo Leon
                                                         Main Document Page 9 of 70
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
    ✔


           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                       $_____________________



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                              $_____________________


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                    $_____________________



    9d. Student loans. (Copy line 6f.)                                                                     $_____________________


    9e. Obligations arising out of a separation agreement or divorce that you did not report as            $_____________________
        priority claims. (Copy line 6g.)

    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                    $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
               Case 6:23-bk-14843-WJ                                       Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                                                                               Desc
                                                                           Main Document Page 10 of 70

Fill in this information to identify your case and this filing:

                     Hugo Leon
Debtor 1
                     First Name              Middle Name                 Last Name

Debtor 2
(Spouse, if filing)    First Name               Middle Name                 Last Name


United States Bankruptcy Court for the: Central District of
California
                                                                                                                                                                                                         Check if this is
Case number                                                                                                                                                                                              an amended
(if know)
                                                                                                                                                                                                         filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                            12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
        No. Go to Part 2
        Yes. Where is the property?

                                                                                 What is the property? Check all that apply
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
    1.1 14181 Southwood Dr.                                                        Single-family home                                                           amount of any secured claims on Schedule D:
            Street address, if available, or other description
                                                                                   Duplex or multi-unit building                                                Creditors Who Have Claims Secured by Property:
                                                                                   Condominium or cooperative                                                   Current value of the                Current value of the
                                                                                   Manufactured or mobile home                                                  entire property?                    portion you own?
            Fontana CA              92337
                                                                                   Land                                                                         $ 550,000.00                        $ 550,000.00
            City        State       ZIP Code
                                                                                   Investment property
                                                                                                                                                                Describe the nature of your ownership
                                                                                   Timeshare                                                                    interest (such as fee simple, tenancy by the
            San Bernardino County                                                  Other                                                                        entireties, or a life estate), if known.

            County                                                               Who has an interest in the property? Check                                     Trust
                                                                                 one
                                                                                      Debtor 1 only                                                                  Check if this is community property
                                                                                      Debtor 2 only
                                                                                      Debtor 1 and Debtor 2 only
                                                                                      At least one of the debtors and another

                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:
                                                                                 Property is owned by Aryshem Living Trust. Debtor is the trustor, and sole trustee for
                                                                                 the Trust.

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part 1. Write that number here...........................................................................................................................................➤          $ 550,000.00


Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes




                                                                                                                                                                                                                 page 1 of 6
                Case 6:23-bk-14843-WJ                                       Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                                                                               Desc
Debtor 1           Hugo Leon
                 First Name          Middle Name         Last Name
                                                                            Main Document Page 11 of 70      Case number(if known)



    3.1 Make:Toyota                                                               Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:RAV4                                                                                                                                           amount of any secured claims onSchedule D:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             2019
                                                                                       Debtor 2 only
           Approximate mileage: 91,000                                                                                                                             Current value of the Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
              Other information:
                                                                                       At least one of the debtors and another                                     $ 17,000.00
              Condition:Good; Co-signer. The                                                                                                                                                            $ 17,000.00
              other party pays and drive.;                                            Check if this is community property (see
                                                                                  instructions)

    3.2 Make:Peterbilt                                                            Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one                                                                           amount of any secured claims onSchedule D:
           Model:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             2014
                                                                                       Debtor 2 only
           Approximate mileage: 789,639                                                                                                                            Current value of the Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
              Other information:
                                                                                       At least one of the debtors and another
              Condition:Poor; Engine is broken.                                                                                                                    $ 30,000.00                          $ 30,000.00
              Collateral is located at JAS Truck                                      Check if this is community property (see
              Repair 14050 Jurupa Ave,                                            instructions)
              Fontana, CA 92337;

    3.3 Make:Peterbilt                                                            Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one                                                                           amount of any secured claims onSchedule D:
           Model:
                                                                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property:
           Year:                             2013
                                                                                       Debtor 2 only
           Approximate mileage: 705,488                                                                                                                            Current value of the Current value of the
                                                                                       Debtor 1 and Debtor 2 only                                                  entire property?     portion you own?
               Other information:
                                                                                       At least one of the debtors and another                                     $ 30,000.00                          $ 30,000.00
              Condition:Fair; Engine is broken.
              Collateral is located at JAS Truck                                      Check if this is community property (see
              Repair 14050 Jurupa Ave,                                            instructions)
              Fontana, CA 92337;

  4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
          No
          Yes

     4.1 Make:Utility                                                             Who has an interest in the property? Check
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
                                                                                  one
           Model:Trailer                                                                                                                                        amount of any secured claims onSchedule D:
                                                                                        Debtor 1 only                                                           Creditors Who Have Claims Secured by Property:
           Year:                              2012
                                                                                        Debtor 2 only
            Other information:                                                                                                                                  Current value of the                Current value of the
                                                                                        Debtor 1 and Debtor 2 only                                              entire property?                    portion you own?
            Condition:Fair; Collateral is
            located at B & R Tires 15115                                                At least one of the debtors and another
                                                                                                                                                                $ 12,000.00                         $ 12,000.00
            Whittram Ave, Fontana, CA
                                                                                      Check if this is community property (see
            92335;
                                                                                  instructions)

      Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
  5. you have attached for Part 2. Write that number here...........................................................................................................................................➤                $ 89,000.00



 Part 3:        Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                       Current value of the
                                                                                                                                                                                                   portion you own?
  6. Household goods and furnishings                                                                                                                                                                Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
         Examples: Major appliances, furniture, linens, china, kitchenware
              No
              Yes. Describe...

      Misc. Household Furnishings                                                                                                                                                                       $ 2,000.00
  7. Electronics
         Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                   collections; electronic devices including cell phones, cameras, media players, games

              No
              Yes. Describe...

         Misc. Electronics                                                                                                                                                                              $ 700.00




                                                                                                                                                                                                                      page 2 of 6
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Debtor 1         Hugo Leon
                First Name            Middle Name           Last Name
                                                                                Main Document Page 12 of 70      Case number(if known)



  8. Collectibles of value
        Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                  stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

             No
             Yes. Describe...

      Misc. Collectible Items                                                                                                                                                                        $ 180.00
  9. Equipment for sports and hobbies
        Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                  and kayaks; carpentry tools; musical instruments

             No
             Yes. Describe...

      Misc. Hobby Equipment                                                                                                                                                                          $ 250.00
  10. Firearms
        Examples: Pistols, rifles, shotguns, ammunition, and related equipment
             No
             Yes. Describe...
  11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
             No
             Yes. Describe...

      Misc. Wearing Apparel                                                                                                                                                                          $ 700.00
  12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                  gold, silver

             No
             Yes. Describe...

      Jewelry                                                                                                                                                                                        $ 400.00
  13. Non-farm animals
        Examples: Dogs, cats, birds, horses

             No
             Yes. Describe...
  14. Any other personal and household items you did not already list, including any health aids you did not list
             No
             Yes. Give specific information...

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤           $ 4,230.00



 Part 4:       Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                        Current value of the
                                                                                                                                                                                                    portion you own?
                                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
  16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

             No
             Yes..............................................................................................................................................   Cash ...........................    $
  17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                  and other similar institutions. If you have multiple accounts with the same institution, list each.

             No
             Yes..................                                   Institution name:
        17.1. Checking account:                                     Wells Fargo                                                                                                                      $ 561.00




                                                                                                                                                                                                                 page 3 of 6
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Debtor 1        Hugo Leon
              First Name           Middle Name   Last Name
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  18. Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

           No
           Yes..................
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture
           No
           Yes. Give specific information about them...........
  20. Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific information about them..........
  21. Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

           No
           Yes. List each account separately
  22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                 companies, or others

           No
           Yes.....................
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
           No
           Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
       program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit
           No
        Yes. Give specific information about them...
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

           No
           Yes. Give specific information about them...
  27. Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

           No
           Yes. Give specific information about them...

 Money or property owed to you?                                                                                                       Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured
                                                                                                                                      claims or exemptions.
  28. Tax refunds owed to you
           No
           Yes. Give specific information about them, including whether you already filed the returns and the tax years...
                                                                                                                 Federal:             $ 0.00
                                                                                                                 State:               $ 0.00
                                                                                                                 Local:               $ 0.00

  29. Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

           No
           Yes. Give specific information....

                                                                                                                                                   page 4 of 6
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Debtor 1         Hugo Leon
                First Name          Middle Name          Last Name
                                                                            Main Document Page 14 of 70      Case number(if known)



  30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                  Social Security benefits; unpaid loans you made to someone else

             No
             Yes. Give specific information....
  31. Interests in insurance policies
             No
             Yes. Name the insurance company of each policy and list its value....
  32. Any interest in property that is due you from someone who has died
             No
             Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
             No
             Yes. Give specific information....
  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
        off claims
             No
             Yes. Give specific information....
  35. Any financial assets you did not already list
             No
             Yes. Give specific information...

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
      you have attached for Part 4. Write that number here...........................................................................................................................................➤            $ 561.00


 Part 5:       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
             No. Go to Part 6.
             Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured
                                                                                                                                                                                                   claims or exemptions.
  38. Accounts receivable or commissions you already earned
             No
             Yes. Describe...
  39. Office equipment, furnishings, and supplies
        Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic
                  devices

             No
             Yes. Describe...

      Misc. Office Equipment                                                                                                                                                                         $ 500.00
  40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
             No
             Yes. Describe...
  41. Inventory
             No
             Yes. Describe...
  42. Interests in partnerships or joint ventures
             No
             Yes. Describe........
  43. Customer lists, mailing lists, or other compilations
             No
             Yes.Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?




                                                                                                                                                                                                                page 5 of 6
                 Case 6:23-bk-14843-WJ                                            Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                                                                          Desc
Debtor 1            Hugo Leon
                  First Name            Middle Name           Last Name
                                                                                  Main Document Page 15 of 70      Case number(if known)



  44. Any business-related property you did not already list
               No
               Yes. Give specific information ...........

 45. Add the dollar value of the portion you own for all of your entries from Part 5, including any entries for pages
       you have attached for Part 5. Write that number here...........................................................................................................................................➤              $ 500.00


                   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:           If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

  53. Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership

               No
               Yes. Give specific
              information...

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                     ................................................➤
                                                                                                                                                                                                                     $ 0.00

 Part 8:         List the Totals of Each Part of this Form

  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                                  $ 550,000.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 89,000.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 4,230.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 561.00
  59. Part 5: Total business-related property, line 45                                                                         $ 500.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $ 0.00
  62. Total personal property. Add lines 56 through 61 ...................                                                      $ 94,291.00                         Copy personal property total➤         +$
                                                                                                                                                                                                               94,291.00
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                                        $ 644,291.00




                                                                                                                                                                                                                    page 6 of 6
               Case 6:23-bk-14843-WJ                       Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                                           Desc
                                                           Main Document Page 16 of 70
 Fill in this information to identify your case:

                     Hugo Leon
 Debtor 1          __________________________________________________________________
                     First Name              Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name                Last Name


                                         ______________________
 United States Bankruptcy Court for the: Central District of California District of __________
                                                                                    (State)
 Case number
  (If known)
                     ___________________________________________                                                                                  Check if this is an
                                                                                                                                                     amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the                    Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own                         exemption you claim

                                                            Copy the value from                     Check only one box
                                                            Schedule A/B                            for each exemption
                 14181 Southwood Dr.                                                                                               Cal. Civ. Proc. Code § 704.730 (a)(1)
 Brief
 description:
                                                                    550,000.00
                                                                   $________________          
                                                                                              ✔ $ ____________
                                                                                                  425,000.00
                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:        1.1
                 2019 Toyota RAV4                                                                                                  Cal. Civ. Proc. Code § 704.010
 Brief
 description:
                                                                     17,000.00
                                                                   $________________             7,500.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:        3.1
                 Household Goods - Misc. Household Furnishings                                                                     Cal. Civ. Proc. Code § 704.020
 Brief
 description:                                                      $________________
                                                                     2,000.00                 
                                                                                              ✔ $ ____________
                                                                                                  2,000.00
                                                                                               100% of fair market value, up to
 Line from                                                                                        any applicable statutory limit
 Schedule A/B:           6

 3. Are you claiming a homestead exemption of more than $189,050?
     (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

      No
     
     ✔ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

        No
        Yes

Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                             2
                                                                                                                                                           page 1 of __
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Debtor           Hugo Leon                        Main Document Page 17 Case
                _______________________________________________________
                                                                        of 70number (if known)_____________________________________
                 First Name      Middle Name            Last Name




 Pa rt 2 :      Addit iona l Pa ge

            description of the property and line
         Brief                                                                                Amount of the                       Specific laws that allow exemption
                                                                       Current value of the   exemption you claim
         on Schedule A/B that lists this property                      portion you own
                                                                      Copy the value from    Check only one box
                                                                       Schedule A/B           for each exemption
                Electronics - Misc. Electronics                                                                                    Cal. Civ. Proc. Code § 704.020
Brief
description:
                                                                         700.00
                                                                        $________________        700.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:           7
                Collectibles Of Value - Misc. Collectible Items                                                                    Cal. Civ. Proc. Code § 704.040
Brief
description:                                                            $________________
                                                                         180.00               
                                                                                              ✔ $ ____________
                                                                                                  180.00
                                                                                               100% of fair market value, up to
                                                                                                 any applicable statutory limit
Line from
Schedule A/B:          8
                Sports & Hobby Equipment - Misc. Hobby Equipment                                                                   Cal. Civ. Proc. Code § 704.020
Brief
description:                                                            $________________
                                                                         250.00               
                                                                                              ✔ $ ____________
                                                                                                  250.00
                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:          9
                Clothing - Misc. Wearing Apparel                                                                                   Cal. Civ. Proc. Code § 704.020
Brief
description:
                                                                         700.00
                                                                        $________________        700.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:          11
                Jewelry - Jewelry                                                                                                  Cal. Civ. Proc. Code § 704.040
Brief
description:
                                                                         400.00
                                                                        $________________        400.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:          12
                Wells Fargo (Checking Account)                                                                                     C.C.P. 704.220
Brief
description:
                                                                         561.00
                                                                        $________________        561.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:          17.1
                Misc. Office Equipment                                                                                             Cal. Civ. Proc. Code § 704.060
Brief
description:
                                                                         500.00
                                                                        $________________        500.00
                                                                                              ✔ $ ____________

                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:            39

Brief
description:                                                            $________________      $ ____________
                                                                                               100% of fair market value, up to
                                                                                                 any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                            $________________      $ ____________
                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:
Brief
description:                                                            $________________      $ ____________
                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:
Brief
description:                                                            $________________      $ ____________
                                                                                               100% of fair market value, up to
                                                                                                 any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                            $________________      $ ____________
                                                                                               100% of fair market value, up to
Line from                                                                                        any applicable statutory limit
Schedule A/B:


 Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                2
                                                                                                                                                    page ___ of __  2
                Case 6:23-bk-14843-WJ                              Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                                  Desc
                                                                   Main Document Page 18 of 70
  Fill in this information to identify your case:

  Debtor 1           Hugo Leon
                     First Name                                 Last Name
                                           Middle Name

  Debtor 2
  (Spouse, if filing) First Name                  Middle Name
                                                                     Last Name



  United States Bankruptcy Court for the: Central District of California

  Case number                                                                                                                                       Check if this is
  (if know)                                                                                                                                         an amended
                                                                                                                                                    filing




  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
  If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write
  your name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.


  Part 1:       List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor                Column A           Column B            Column C
     separately for each claim. If more than one creditor has a particular claim, list the other creditors in Amount of          Value of            Unsecured
     Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name. claim Do not           collateral that     portion If any
                                                                                                              deduct the value   supports this
                                                                                                              of collateral.     claim
 2.1                                                              Describe the property that secures the claim: $ 78,655.00      $ 12,000.00         $ 66,655.00


       First Home Bank                                          2012 Utility Trailer - $12,000.00
       Creditor’s Name
       C/O BayFirst National Bank
       Number                                                   As of the date you file, the claim is: Check all
                     Street
       700 Central Ave                                          that apply.
                                                                   Contingent
       Saint Petersburg FL                33701                    Unliquidated
       City                       State   ZIP Code                 Disputed
       Who owes the debt? Check one.
         Debtor 1 only                                          Nature of lien. Check all that apply.
         Debtor 2 only                                             An agreement you made (such as mortgage or
                                                                   secured car loan)
         Debtor 1 and Debtor 2 only                                Statutory lien (such as tax lien, mechanic’s lien)
         At least one of the debtors and another                   Judgment lien from a lawsuit
              Check if this claim relates to a                     Other (including a right to offset)
              community debt                                    Last 4 digits of account number 7004
       Date debt was incurred 2021




Official Form 106D                                               Schedule D: Creditors Who Have Claims Secured by Property                                 page 1 of 3
                Hugo Leon
Debtor          Case    6:23-bk-14843-WJ
               First Name       Middle Name       Last Name      Doc 1 Filed 10/19/23 Entered 10/19/23   15:19:33
                                                                                                  Case number(if known)                     Desc
                                                                 Main Document Page 19 of 70
 2.2                                                            Describe the property that secures the claim: $ 78,655.00    $ 30,000.00      $ 48,655.00


       First Home Bank
                                                              2013 Peterbilt - $30,000.00
       Creditor’s Name
       C/O BayFirst National Bank
       Number                                                 As of the date you file, the claim is: Check all
                     Street
       700 Central Ave                                        that apply.
                                                                 Contingent
       Saint Petersburg FL             33701                     Unliquidated
       City                   State    ZIP Code                  Disputed
       Who owes the debt? Check one.
         Debtor 1 only                                        Nature of lien. Check all that apply.
         Debtor 2 only                                           An agreement you made (such as mortgage or
                                                                 secured car loan)
         Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
         At least one of the debtors and another                 Judgment lien from a lawsuit
              Check if this claim relates to a                   Other (including a right to offset)
              community debt                                  Last 4 digits of account number 7004
       Date debt was incurred 2021

 2.3                                                            Describe the property that secures the claim: $ 78,655.00    $ 30,000.00      $ 48,655.00


       First Home Bank                                        2014 Peterbilt - $30,000.00
       Creditor’s Name
       C/O BayFirst National Bank
       Number                                                 As of the date you file, the claim is: Check all
                     Street
       700 Central Ave                                        that apply.
                                                                 Contingent
       Saint Petersburg FL             33701                     Unliquidated
       City                   State    ZIP Code                  Disputed
       Who owes the debt? Check one.
         Debtor 1 only                                        Nature of lien. Check all that apply.
         Debtor 2 only                                           An agreement you made (such as mortgage or
                                                                 secured car loan)
         Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
         At least one of the debtors and another                 Judgment lien from a lawsuit
              Check if this claim relates to a                   Other (including a right to offset)
              community debt                                  Last 4 digits of account number 7004
       Date debt was incurred 2021

 2.4                                                            Describe the property that secures the claim: $ 179,436.00   $ 550,000.00     $ 0.00


       Pennymac Loan Services
                                                              14181 Southwood Dr., Fontana, CA 92337 - $550,000.00
       Creditor’s Name
       6101 Condor Dr Ste 200
       Number                                                 As of the date you file, the claim is: Check all
                     Street
       Moorpark CA            93021                           that apply.
       City           State   ZIP Code                           Contingent
       Who owes the debt? Check one.                             Unliquidated
         Debtor 1 only                                           Disputed
         Debtor 2 only
                                                              Nature of lien. Check all that apply.
         Debtor 1 and Debtor 2 only
                                                                 An agreement you made (such as mortgage or
         At least one of the debtors and another                 secured car loan)
                                                                 Statutory lien (such as tax lien, mechanic’s lien)
              Check if this claim relates to a
              community debt                                     Judgment lien from a lawsuit
                                                                 Other (including a right to offset)
       Date debt was incurred 2012
                                                              Last 4 digits of account number 9309




Official Form 106D                                             Schedule D: Creditors Who Have Claims Secured by Property                               page 2 of 3
                 Hugo Leon
Debtor           Case    6:23-bk-14843-WJ
                First Name            Middle Name   Last Name      Doc 1 Filed 10/19/23 Entered 10/19/23   15:19:33
                                                                                                    Case number(if known)                             Desc
                                                                   Main Document Page 20 of 70
 2.5                                                              Describe the property that secures the claim: $ 35,896.00            $ 550,000.00     $ 0.00


        Pennymac Loan Services                                  14181 Southwood Dr., Fontana, CA 92337 - $550,000.00
        Creditor’s Name
        Po Box 514387
        Number                                                  As of the date you file, the claim is: Check all
                     Street
        Los Angeles CA                 90051                    that apply.
        City                 State     ZIP Code                    Contingent
        Who owes the debt? Check one.                              Unliquidated
          Debtor 1 only                                            Disputed
          Debtor 2 only
                                                                Nature of lien. Check all that apply.
          Debtor 1 and Debtor 2 only
                                                                   An agreement you made (such as mortgage or
          At least one of the debtors and another                  secured car loan)
                                                                   Statutory lien (such as tax lien, mechanic’s lien)
               Check if this claim relates to a
               community debt                                      Judgment lien from a lawsuit
                                                                   Other (including a right to offset)
        Date debt was incurred 2023
                                                                Last 4 digits of account number 9309

 2.6                                                              Describe the property that secures the claim: $ 10,488.00            $ 17,000.00      $ 0.00


        Toyota Motor Credit                                     2019 Toyota RAV4 - $17,000.00
        Creditor’s Name
        Po Box 9786
        Number                                                  As of the date you file, the claim is: Check all
                     Street
        Cedar Rapids IA                 52409                   that apply.
        City                  State     ZIP Code                   Contingent
        Who owes the debt? Check one.                              Unliquidated
          Debtor 1 only                                            Disputed
          Debtor 2 only
                                                                Nature of lien. Check all that apply.
          Debtor 1 and Debtor 2 only
                                                                   An agreement you made (such as mortgage or
          At least one of the debtors and another                  secured car loan)
                                                                   Statutory lien (such as tax lien, mechanic’s lien)
               Check if this claim relates to a
               community debt                                      Judgment lien from a lawsuit
                                                                   Other (including a right to offset)
        Date debt was incurred 2018
                                                                Last 4 digits of account number 0001

       Add the dollar value of your entries in Column A on this page. Write that number here:                           $ 461,785.00


  Part 2:        List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
   agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here.
   Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have
   additional persons to be notified for any debts in Part 1, do not fill out or submit this page.




Official Form 106D                                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 3
                Case 6:23-bk-14843-WJ                           Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                                    Desc
                                                                Main Document Page 21 of 70
   Fill in this information to identify your case:

                   Hugo Leon
   Debtor 1
                   First Name                                 Last Name
                                           Middle Name

   Debtor 2
   (Spouse, if filing) First Name               Middle Name
                                                                   Last Name



   United States Bankruptcy Court for the: Central District of California

   Case number                                                                                                                                       Check if this is
   (if know)                                                                                                                                         an amended
                                                                                                                                                     filing


  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                            12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
 other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
 (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
 partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
 need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
 your name and case number (if known).

   Part 1:      List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
         Yes.
   Part 2:      List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing else to report in this part. Submit to the court with your other schedules.
         Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                         Total claim

  4.1                                                                     Last 4 digits of account number 1693
         Amex                                                                                                                                              $ 1,312.00
         Nonpriority Creditor's Name
                                                                          When was the debt incurred?

         P.o. Box 981537                                                  As of the date you file, the claim is: Check all that apply.
         Number                                                              Contingent
                       Street
         El Paso TX             79998                                        Unliquidated
         City          State    ZIP Code                                     Disputed
         Who owes the debt? Check one.
             Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
             Debtor 2 only                                                  Student loans
             Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                             that you did not report as priority claims
             At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
             Check if this claim relates to a community                      debts
             debt                                                           Other. Specify Credit Card Debt
         Is the claim subject to offset?
             No
             Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 1 of 16
                  Hugo Leon
 Debtor           Case    6:23-bk-14843-WJ
                 First Name         Middle Name     Last Name   Doc 1 Filed 10/19/23 Entered 10/19/23   15:19:33
                                                                                                 Case number(if known)                Desc
                                                                Main Document Page 22 of 70
  4.2                                                               Last 4 digits of account number 2385
          Biehl & Biehl                                                                                                                       $ 343.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 2023

          PO Box 87410                                              As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Carol Stream IL                60188                         Unliquidated
          City                State      ZIP Code                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another
                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Collection Agency
          Is the claim subject to offset?
              No
              Yes

  4.3                                                               Last 4 digits of account number ****
          Capital One                                                                                                                           $ 0.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 2006

          Po Box 31293                                              As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Salt Lake City UT              84131                         Unliquidated
          City                   State   ZIP Code                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another
                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.4                                                               Last 4 digits of account number 4736
          Capital One Bank Usa N                                                                                                             $ 2,157.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          Po Box 31293                                              As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Salt Lake City UT              84131                         Unliquidated
          City                   State   ZIP Code                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                            page 2 of 16
                  Hugo Leon
 Debtor           Case    6:23-bk-14843-WJ
                 First Name           Middle Name   Last Name   Doc 1 Filed 10/19/23 Entered 10/19/23   15:19:33
                                                                                                 Case number(if known)                Desc
                                                                Main Document Page 23 of 70
  4.5                                                               Last 4 digits of account number 4179
          Ccb/Orbitz                                                                                                                            $ 0.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 2015

          Po Box 182120                                             As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Columbus OH                 43218                            Unliquidated
          City            State       ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another
                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.6                                                               Last 4 digits of account number 5714
          Ccb/Tyvisa                                                                                                                            $ 0.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 2018

          P.O. Box 183003                                           As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Columbus OH                 43218                            Unliquidated
          City            State       ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another
                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.7                                                               Last 4 digits of account number 5819
          Citicards Cbna                                                                                                                     $ 4,814.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          Po Box 6217                                               As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Sioux Falls SD              57117                            Unliquidated
          City                State   ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                            page 3 of 16
                  Hugo Leon
 Debtor           Case    6:23-bk-14843-WJ
                 First Name           Middle Name   Last Name   Doc 1 Filed 10/19/23 Entered 10/19/23   15:19:33
                                                                                                 Case number(if known)                Desc
                                                                Main Document Page 24 of 70
  4.8                                                               Last 4 digits of account number 5714
          Dnf Assoc                                                                                                                      $ 16,475.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          2351 N Forest Road                                        As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Getzville NY           14068                                 Unliquidated
          City          State    ZIP Code                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.9                                                               Last 4 digits of account number 4179
          Dnf Assoc                                                                                                                          $ 3,782.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          2351 N Forest Road                                        As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Getzville NY           14068                                 Unliquidated
          City          State    ZIP Code                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.10 Enhanced Recovery Co L                                       Last 4 digits of account number
                                                                                                                                                $ 0.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          Po Box 57547                                              As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Jacksonville FL               32241                          Unliquidated
          City                State     ZIP Code                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                            page 4 of 16
                  Hugo Leon
 Debtor           Case    6:23-bk-14843-WJ
                 First Name           Middle Name   Last Name   Doc 1 Filed 10/19/23 Entered 10/19/23   15:19:33
                                                                                                 Case number(if known)                Desc
                                                                Main Document Page 25 of 70
  4.11 Fb&T/Mercury                                                 Last 4 digits of account number ****
                                                                                                                                                $ 0.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 2006

          Po Box 84064                                              As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Columbus GA                 31908                            Unliquidated
          City            State       ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.12 Hy Cite/royal Prestige                                       Last 4 digits of account number
                                                                                                                                                $ 0.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          333 Holtzman Rd                                           As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Madison WI              53713                                Unliquidated
          City          State     ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.13 Jefferson Capital Syst                                       Last 4 digits of account number ***3
                                                                                                                                             $ 2,157.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 2022

          16 Mcleland Rd                                            As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Saint Cloud MN               56303                           Unliquidated
          City                State    ZIP Code                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another
                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                            page 5 of 16
                  Hugo Leon
 Debtor           Case    6:23-bk-14843-WJ
                 First Name           Middle Name   Last Name   Doc 1 Filed 10/19/23 Entered 10/19/23   15:19:33
                                                                                                 Case number(if known)                Desc
                                                                Main Document Page 26 of 70
  4.14 Kabbage                                                      Last 4 digits of account number 3579
                                                                                                                                         $ 116,279.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          C/O Lincoln & Morgan                                      As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          600 W Broadway Ste 700                                       Unliquidated
                                                                       Disputed
          San Diego CA                92101
                                                                    Type of NONPRIORITY unsecured claim:
          City                State   ZIP Code
          Who owes the debt? Check one.                               Student loans
              Debtor 1 only                                            Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              Debtor 2 only
                                                                       Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                               debts
              At least one of the debtors and another                 Other. Specify Collection Agency
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.15 Kohls/capone                                                 Last 4 digits of account number 5664
                                                                                                                                             $ 2,236.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          Po Box 3115                                               As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Milwaukee WI                53201                            Unliquidated
          City                State   ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.16 Lincoln & Morgan                                             Last 4 digits of account number
                                                                                                                                                $ 0.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          600 W Broadway Ste 700                                    As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          San Diego CA                92101                            Unliquidated
          City                State   ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                            page 6 of 16
                  Hugo Leon
 Debtor           Case    6:23-bk-14843-WJ
                 First Name         Middle Name   Last Name   Doc 1 Filed 10/19/23 Entered 10/19/23   15:19:33
                                                                                               Case number(if known)                Desc
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  4.17 Macys/dsnb                                                 Last 4 digits of account number 1832
                                                                                                                                           $ 1,829.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?

          Po Box 8218                                             As of the date you file, the claim is: Check all that apply.
          Number                                                     Contingent
                        Street
          Mason OH               45040                               Unliquidated
          City       State       ZIP Code                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                         Student loans
              Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                  Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.18 Midland Credit Managem                                     Last 4 digits of account number 8460
                                                                                                                                           $ 3,457.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?

          320 East Big Beaver                                     As of the date you file, the claim is: Check all that apply.
          Number                                                     Contingent
                        Street
          Troy      MI        48083                                  Unliquidated
          City      State     ZIP Code                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                         Student loans
              Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                  Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.19 Midland Credit Managem                                     Last 4 digits of account number 0444
                                                                                                                                            $ 748.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred?

          320 East Big Beaver                                     As of the date you file, the claim is: Check all that apply.
          Number                                                     Contingent
                        Street
          Troy      MI        48083                                  Unliquidated
          City      State     ZIP Code                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                         Student loans
              Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              At least one of the debtors and another                Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                  Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                            page 7 of 16
                  Hugo Leon
 Debtor           Case    6:23-bk-14843-WJ
                 First Name           Middle Name   Last Name   Doc 1 Filed 10/19/23 Entered 10/19/23   15:19:33
                                                                                                 Case number(if known)                Desc
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  4.20 Nordstrom/td Bank Usa                                        Last 4 digits of account number 3863
                                                                                                                                             $ 558.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          13531 E. Caley Ave                                        As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Englewood CO                 80111                           Unliquidated
          City                State    ZIP Code                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.21 On Deck Capital Inc.                                         Last 4 digits of account number CIVSB2110946
                                                                                                                                         $ 43,708.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          C/O Gurstel Law Firm, PC                                  As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          3914 Murphy Canyon Rd. Ste A162                              Unliquidated
                                                                       Disputed
          San Diego CA                92123
                                                                    Type of NONPRIORITY unsecured claim:
          City                State   ZIP Code
          Who owes the debt? Check one.                               Student loans
              Debtor 1 only                                            Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              Debtor 2 only
                                                                       Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                               debts
              At least one of the debtors and another                 Other. Specify Judgment
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.22 Portfolio Recov Assoc                                        Last 4 digits of account number 6674
                                                                                                                                             $ 703.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          120 Corporate Blvd Ste 100                                As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Norfolk VA              23502                                Unliquidated
          City        State       ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                           page 8 of 16
                  Hugo Leon
 Debtor           Case    6:23-bk-14843-WJ
                 First Name         Middle Name   Last Name   Doc 1 Filed 10/19/23 Entered 10/19/23   15:19:33
                                                                                               Case number(if known)                Desc
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  4.23 Royal Prst                                                 Last 4 digits of account number 36**
                                                                                                                                           $ 2,783.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred? 2005

          333 Holtzman Rd                                         As of the date you file, the claim is: Check all that apply.
          Number                                                     Contingent
                        Street
          Madison WI              53713                              Unliquidated
          City          State     ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                         Student loans
              Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              At least one of the debtors and another
                                                                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                  Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.24 Sears/Cbna                                                 Last 4 digits of account number ****
                                                                                                                                              $ 0.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred? 2014

          13200 Smith Rd                                          As of the date you file, the claim is: Check all that apply.
          Number                                                     Contingent
                        Street
          Cleveland OH              44130                            Unliquidated
          City            State     ZIP Code                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                         Student loans
              Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              At least one of the debtors and another
                                                                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                  Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.25 Syncb/Carecr                                               Last 4 digits of account number 8111
                                                                                                                                              $ 0.00
          Nonpriority Creditor's Name
                                                                  When was the debt incurred? 2014

          C/O Po Box 965036                                       As of the date you file, the claim is: Check all that apply.
          Number                                                     Contingent
                        Street
          Orlando FL              32896                              Unliquidated
          City         State      ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                       Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                         Student loans
              Debtor 1 and Debtor 2 only                             Obligations arising out of a separation agreement or divorce
                                                                     that you did not report as priority claims
              At least one of the debtors and another
                                                                     Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community             debts
              debt                                                  Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                            page 9 of 16
                  Hugo Leon
 Debtor           Case    6:23-bk-14843-WJ
                 First Name        Middle Name   Last Name   Doc 1 Filed 10/19/23 Entered 10/19/23   15:19:33
                                                                                              Case number(if known)                Desc
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  4.26 Syncb/Jcp                                                 Last 4 digits of account number ****
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred? 2007

          Po Box 965007                                          As of the date you file, the claim is: Check all that apply.
          Number                                                    Contingent
                        Street
          Orlando FL             32896                              Unliquidated
          City         State     ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another
                                                                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.27 Syncb/Livspc                                              Last 4 digits of account number 3592
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred? 2011

          C/O Po Box 965036                                      As of the date you file, the claim is: Check all that apply.
          Number                                                    Contingent
                        Street
          Orlando FL             32896                              Unliquidated
          City         State     ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another
                                                                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.28 Syncb/lowes                                               Last 4 digits of account number 1361
                                                                                                                                           $ 479.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred?

          Po Box 956005                                          As of the date you file, the claim is: Check all that apply.
          Number                                                    Contingent
                        Street
          Orlando FL             32896                              Unliquidated
          City         State     ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                           page 10 of 16
                  Hugo Leon
 Debtor           Case    6:23-bk-14843-WJ
                 First Name        Middle Name   Last Name   Doc 1 Filed 10/19/23 Entered 10/19/23   15:19:33
                                                                                              Case number(if known)                Desc
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  4.29 Syncb/Peac                                                Last 4 digits of account number ****
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred? 2007

          C/O P.O. Box 965036                                    As of the date you file, the claim is: Check all that apply.
          Number                                                    Contingent
                        Street
          Orlando FL             32896-5036                         Unliquidated
          City         State     ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another               Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.30 Syncb/Ppc                                                 Last 4 digits of account number 5791
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred? 2013

          Po Box 965005                                          As of the date you file, the claim is: Check all that apply.
          Number                                                    Contingent
                        Street
          Orlando FL             32896                              Unliquidated
          City         State     ZIP Code                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                      Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                        Student loans
              Debtor 1 and Debtor 2 only                            Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              At least one of the debtors and another
                                                                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community            debts
              debt                                                 Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.31 Syncb/Walmart                                             Last 4 digits of account number ****
                                                                                                                                             $ 0.00
          Nonpriority Creditor's Name
                                                                 When was the debt incurred? 2007

          Attn: Bankruptcy                                       As of the date you file, the claim is: Check all that apply.
          Number                                                    Contingent
                        Street
          PO Box 965064                                             Unliquidated
                                                                    Disputed
          Orlando FL             32896
          City         State     ZIP Code
                                                                 Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                            Student loans
              Debtor 1 only                                         Obligations arising out of a separation agreement or divorce
                                                                    that you did not report as priority claims
              Debtor 2 only
                                                                    Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                            debts
              At least one of the debtors and another              Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                           page 11 of 16
                  Hugo Leon
 Debtor           Case    6:23-bk-14843-WJ
                 First Name           Middle Name   Last Name   Doc 1 Filed 10/19/23 Entered 10/19/23   15:19:33
                                                                                                 Case number(if known)                Desc
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  4.32 Td Bank Usa/targetcred                                       Last 4 digits of account number 6614
                                                                                                                                             $ 1,526.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          Po Box 673                                                As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Minneapolis MN                55440                          Unliquidated
          City                State     ZIP Code                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.33 Tdrcs/Samsung                                                Last 4 digits of account number 8202
                                                                                                                                              $ 161.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 2018

          1000 Macarthur Blvd                                       As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Mahwah NJ               07430                                Unliquidated
          City          State     ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another
                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.34 The Bureaus Inc                                              Last 4 digits of account number 1993
                                                                                                                                             $ 1,492.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          650 Dundee Road                                           As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Northbrook IL                60062                           Unliquidated
          City                State    ZIP Code                        Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                           page 12 of 16
                  Hugo Leon
 Debtor           Case    6:23-bk-14843-WJ
                 First Name           Middle Name    Last Name   Doc 1 Filed 10/19/23 Entered 10/19/23   15:19:33
                                                                                                  Case number(if known)                Desc
                                                                 Main Document Page 33 of 70
  4.35 The Moore Law Group                                           Last 4 digits of account number
                                                                                                                                                 $ 0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          3710 S. Susan St.                                          As of the date you file, the claim is: Check all that apply.
          Number                                                        Contingent
                        Street
          Ste 210                                                       Unliquidated
                                                                        Disputed
          Santa Ana CA                92704
                                                                     Type of NONPRIORITY unsecured claim:
          City                State   ZIP Code
          Who owes the debt? Check one.                                Student loans
              Debtor 1 only                                             Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              Debtor 2 only
                                                                        Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                debts
              At least one of the debtors and another                  Other. Specify Credit Card Debt
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.36 The Moore Law Group APC                                       Last 4 digits of account number CIVSB2109101
                                                                                                                                                 $ 0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred? 2021

          PO Box 25145                                               As of the date you file, the claim is: Check all that apply.
          Number                                                        Contingent
                        Street
          Santa Ana CA                92799                             Unliquidated
          City                State   ZIP Code                          Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify Collection Agency
          Is the claim subject to offset?
              No
              Yes

  4.37 Toyota Motor Credit                                           Last 4 digits of account number 0001
                                                                                                                                          $ 18,870.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          Po Box 9786                                                As of the date you file, the claim is: Check all that apply.
          Number                                                        Contingent
                        Street
          Cedar Rapids IA                 52409                         Unliquidated
          City                   State    ZIP Code                      Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                          Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                            Student loans
              Debtor 1 and Debtor 2 only                                Obligations arising out of a separation agreement or divorce
                                                                        that you did not report as priority claims
              At least one of the debtors and another                   Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                debts
              debt                                                     Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                           page 13 of 16
                  Hugo Leon
 Debtor           Case    6:23-bk-14843-WJ
                 First Name           Middle Name   Last Name   Doc 1 Filed 10/19/23 Entered 10/19/23   15:19:33
                                                                                                 Case number(if known)                Desc
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  4.38 Uscb America                                                 Last 4 digits of account number 45**
                                                                                                                                              $ 156.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 2020

          355 S Grand Ave Ste 3200                                  As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Los Angeles CA                90071                          Unliquidated
          City                State     ZIP Code                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another
                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.39 Uscb America                                                 Last 4 digits of account number 4549
                                                                                                                                              $ 156.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          355 S Grand Ave Ste 3200                                  As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Los Angeles CA                90071                          Unliquidated
          City                State     ZIP Code                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes

  4.40 Uscb America                                                 Last 4 digits of account number 45**
                                                                                                                                              $ 420.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 2020

          355 S Grand Ave Ste 3200                                  As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Los Angeles CA                90071                          Unliquidated
          City                State     ZIP Code                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify
          Is the claim subject to offset?
              No
              Yes




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                  Hugo Leon
 Debtor           Case    6:23-bk-14843-WJ
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                                                                                                 Case number(if known)                Desc
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  4.41 Uscb America                                                 Last 4 digits of account number 48**
                                                                                                                                              $ 845.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 2020

          355 S Grand Ave Ste 3200                                  As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Los Angeles CA                90071                          Unliquidated
          City                State     ZIP Code                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another
                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.42 US Dept of Ed/glelsi                                         Last 4 digits of account number 0581
                                                                                                                                         $ 26,667.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          2401 International Lane                                   As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Madison WI              53704                                Unliquidated
          City          State     ZIP Code                             Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.43 Wells Fargo                                                  Last 4 digits of account number 6204
                                                                                                                                             $ 8,007.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred?

          Credit Bureau Dispute Resoluti                            As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Des Moines IA                 50306                          Unliquidated
          City                State     ZIP Code                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another                  Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify Credit Card Debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                           page 15 of 16
                  Hugo Leon
 Debtor           Case    6:23-bk-14843-WJ
                 First Name           Middle Name   Last Name   Doc 1 Filed 10/19/23 Entered 10/19/23   15:19:33
                                                                                                 Case number(if known)                Desc
                                                                Main Document Page 36 of 70
  4.44 Wf Crd Svc                                                   Last 4 digits of account number ****
                                                                                                                                              $ 7,918.00
          Nonpriority Creditor's Name
                                                                    When was the debt incurred? 2015

          Po Box 14517                                              As of the date you file, the claim is: Check all that apply.
          Number                                                       Contingent
                        Street
          Des Moines IA                 50306                          Unliquidated
          City                State     ZIP Code                       Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                           Student loans
              Debtor 1 and Debtor 2 only                               Obligations arising out of a separation agreement or divorce
                                                                       that you did not report as priority claims
              At least one of the debtors and another
                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community               debts
              debt                                                    Other. Specify
          Is the claim subject to offset?
              No
              Yes

   Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the
     collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional
     creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.


   Part 4:        Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.


                                                                                                               Total claim

   Total claims          6a. Domestic support obligations                                            6a.   $ 0.00
   from Part 1
                         6b. Taxes and certain other debts you owe the                               6b.   $ 0.00
                         government
                         6c. Claims for death or personal injury while you were                      6c.   $ 0.00
                             intoxicated
                         6d. Other. Add all other priority unsecured claims. Write that              6d.   $ 0.00
                             amount here.
                         6e. Total. Add lines 6a through 6d.                                         6e.
                                                                                                            $ 0.00



                                                                                                               Total claim

   Total claims          6f. Student loans                                                           6f.   $ 26,667.00
   from Part 2
                         6g. Obligations arising out of a separation agreement or                    6g.   $ 0.00
                             divorce that you did not report as priority claims
                         6h. Debts to pension or profit-sharing plans, and other                     6h.   $ 0.00
                             similar debts
                         6i. Other. Add all other nonpriority unsecured claims. Write that           6i.   $ 243,371.00
                             amount here.
                         6j. Total. Add lines 6f through 6i.                                         6j.
                                                                                                            $ 270,038.00




Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims                            page 16 of 16
               Case 6:23-bk-14843-WJ                  Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                           Desc
                                                      Main Document Page 37 of 70
  Fill in this information to identify your case:

  Debtor 1
                     Hugo Leon
                      First Name                          Last Name
                                   Middle Name

  Debtor 2
  (Spouse, if filing) First Name        Middle Name
                                                               Last Name



  United States Bankruptcy Court for the: Central District of California

  Case number                                                                                                                   Check if this is
  (if know)                                                                                                                     an amended
                                                                                                                                filing




  Official Form 106G
  Schedule G: Executory Contracts and Unexpired Leases                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is
    for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
    executory contracts and unexpired leases.


       Person or company with whom you have the contract or lease State what the contract or lease is for




Official Form 106G                                    Schedule G: Executory Contracts and Unexpired Leases                               page 1 of 1
               Case 6:23-bk-14843-WJ                           Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                                   Desc
                                                               Main Document Page 38 of 70
Fill in this information to identify your case:

Debtor 1
                Hugo Leon
                     First Name                                 Last Name
                                        Middle Name

Debtor 2
(Spouse, if filing) First Name                Middle Name
                                                                      Last Name



United States Bankruptcy Court for the: Central District of California

Case number                                                                                                                                      Check if this is
(if know)                                                                                                                                        an amended
                                                                                                                                                 filing




  Official Form 106H
  Schedule H: Your Codebtors                                                                                                                              12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two
married people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the
Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any
Additional Pages, write your name and case number (if known). Answer every question.


 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
       Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       No. Go to line 3.
        Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
             No
            Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.



 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
    shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
    Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
    Schedule E/F, or Schedule G to fill out Column 2.


       Column 1: Your codebtor                                                                          Column 2: The creditor to whom you owe the debt
                                                                                                        Check all schedules that apply:




Official Form 106H                                                            Schedule H: Your Codebtors                                                  page 1 of 1
               Case 6:23-bk-14843-WJ                       Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                                   Desc
                                                           Main Document Page 39 of 70
 Fill in this information to identify your case:

                      Hugo Leon
 Debtor 1           ____________________________________________________________________
                     First Name              Middle Name                 Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name              Middle Name                 Last Name


 United States Bankruptcy Court for the: ______________________
                                          Central District of CaliforniaDistrict
                                                                                      tate)
 Case number         ___________________________________________                                          Check if this is:
  (If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter 13
                                                                                                             income as of the following date:
                                                                                                             ________________
Official Form 106I                                                                                           MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                               Debtor 1                                  Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                             ✔ Employed
    information about additional           Employment status                                                             Employed
    employers.                                                               Not employed                                Not employed
    Include part-time, seasonal, or
    self-employed work.                                                     Truck driver
                                           Occupation                     __________________________________           __________________________________
    Occupation may include student
    or homemaker, if it applies.                                             Hugo Leon
                                           Employer’s name                __________________________________            __________________________________


                                           Employer’s address                14181 Southwood Dr.
                                                                          _______________________________________     ________________________________________
                                                                           Number Street                               Number    Street

                                                                          _______________________________________     ________________________________________

                                                                         _______________________________________      ________________________________________

                                                                             Fontana, CA 92337
                                                                          _______________________________________     ________________________________________
                                                                           City            State  ZIP Code              City                State ZIP Code

                                           How long employed there?________________________
                                                                    6 years                                             ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                     For Debtor 1       For Debtor 2 or
                                                                                                                        non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.              2.            0.00
                                                                                                    $___________          $____________

 3. Estimate and list monthly overtime pay.                                                   3.   + $___________
                                                                                                             0.00      + $____________

 4. Calculate gross income. Add line 2 + line 3.                                              4.            0.00
                                                                                                    $__________           $____________




Official Form 106I                                                    Schedule I: Your Income                                                    page 1
              Case 6:23-bk-14843-WJ
               Hugo Leon
                                                                     Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33 Desc
Debtor 1         _______________________________________________________
                                                                     Main Document Page 40 Case number (if known)_____________________________________
                                                                                            of 70
                 First Name         Middle Name               Last Name

                                                                                                                        For Debtor 1        For Debtor 2 or
                                                                                                                                            non-filing spouse

   Copy line 4 here ............................................................................................  4.          0.00
                                                                                                                        $___________          $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.           0.00
                                                                                                                        $____________         $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.           0.00
                                                                                                                        $____________         $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.           0.00
                                                                                                                        $____________         $_____________
     5d. Required repayments of retirement fund loans                                                            5d.           0.00
                                                                                                                        $____________         $_____________
     5e. Insurance                                                                                               5e.           0.00
                                                                                                                        $____________         $_____________
     5f. Domestic support obligations                                                                            5f.           0.00
                                                                                                                        $____________         $_____________
                                                                                                                               0.00
                                                                                                                        $____________         $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h. + $____________
                                                                                                                              0.00          + $_____________
    _____________________________________________________________                                                       $____________         $____________
    _____________________________________________________________                                                       $____________         $____________
    _____________________________________________________________                                                       $____________         $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.            0.00
                                                                                                                        $____________         $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.           0.00
                                                                                                                        $____________         $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                               1,898.00
                                                                                                                        $____________         $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.           0.00
                                                                                                                        $____________         $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                0.00
                                                                                                                        $____________         $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.           0.00
                                                                                                                        $____________         $_____________
     8e. Social Security                                                                                         8e.           0.00
                                                                                                                        $____________         $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                      0.00
                                                                                                                        $____________         $_____________

     8g. Pension or retirement income                                                                            8g.           0.00
                                                                                                                        $____________         $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h. + $____________
                                                                                                                              0.00          + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.       1,898.00
                                                                                                                        $____________         $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                           1,898.00
                                                                                                                        $___________    +     $_____________      = $_____________
                                                                                                                                                                       1,898.00

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                       1,898.00
                                                                                                                                                                    $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                      12.
                                                                                                                                                                    Combined
                                                                                                                                                                    monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔ No.
       Yes. Explain:

  Official Form 106I                                                               Schedule I: Your Income                                                            page 2
               Case 6:23-bk-14843-WJ                       Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                                        Desc
                                                           Main Document Page 41 of 70
  Fill in this information to identify your case:

                     Hugo Leon
  Debtor 1          __________________________________________________________________
                      First Name             Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name             Middle Name                 Last Name
                                                                                                              An amended filing
                                          Central District of California
                                                                                                              A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________         District of __________                  expenses as of the following date:
                                                                                     (State)
                                                                                                                 ________________
  Case number         ___________________________________________                                                MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                No
                Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents?                  No                                           Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                ✔ Yes. Fill out this information for
                                                                                         Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                   each dependent..........................
   Do not state the dependents’                                                            Son                                      20            No
                                                                                          _________________________                ________
   names.                                                                                                                                        
                                                                                                                                                 ✔ Yes
                                                                                           Daughter
                                                                                          _________________________                 17
                                                                                                                                   ________       No
                                                                                                                                                 
                                                                                                                                                 ✔ Yes

                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
                                                                                          _________________________                ________       No
                                                                                                                                                  Yes
3. Do your expenses include
   expenses of people other than
                                            No
   yourself and your dependents?            Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                 Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                 1,780.00
                                                                                                                                     $_____________________
     any rent for the ground or lot.                                                                                         4.

     If not included in line 4:
                                                                                                                                                      0.00
     4a.    Real estate taxes                                                                                                4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                     4b.
                                                                                                                                                      0.00
                                                                                                                                     $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                    4c.                     25.00
                                                                                                                                     $_____________________
     4d.    Homeowner’s association or condominium dues                                                                      4d.                      0.00
                                                                                                                                     $_____________________

  Official Form 106J                                            Schedule J: Your Expenses                                                              page 1
                Case 6:23-bk-14843-WJ                     Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                             Desc
                                                          Main Document Page 42 of 70
                    Hugo Leon
 Debtor 1          _______________________________________________________                   Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                        Your expenses

                                                                                                                       $_____________________
                                                                                                                                        0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                  5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                    6a.    $_____________________
                                                                                                                                     365.00
        6b.   Water, sewer, garbage collection                                                                  6b.    $_____________________
                                                                                                                                     100.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_____________________
                                                                                                                                     270.00
        6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________
                                                                                                                                        0.00
 7. Food and housekeeping supplies                                                                              7.     $_____________________
                                                                                                                                     800.00
 8. Childcare and children’s education costs                                                                    8.     $_____________________
                                                                                                                                        0.00
 9. Clothing, laundry, and dry cleaning                                                                         9.     $_____________________
                                                                                                                                      60.00
10.    Personal care products and services                                                                      10.    $_____________________
                                                                                                                                      50.00
11.    Medical and dental expenses                                                                              11.    $_____________________
                                                                                                                                      50.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                       $_____________________
                                                                                                                                     450.00
       Do not include car payments.                                                                             12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $_____________________
                                                                                                                                      80.00
14.     Charitable contributions and religious donations                                                        14.    $_____________________
                                                                                                                                        0.00
                                                                                                                                                      1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                     15a.   $_____________________
                                                                                                                                        0.00
        15b. Health insurance                                                                                   15b.   $_____________________
                                                                                                                                        0.00
        15c. Vehicle insurance                                                                                  15c.   $_____________________
                                                                                                                                     155.00
        15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________
                                                                                                                                        0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                       16.
                                                                                                                                       0.00
                                                                                                                       $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                         17a.   $_____________________
                                                                                                                                     469.00
        17b. Car payments for Vehicle 2                                                                         17b.   $_____________________
                                                                                                                                        0.00
        17c. Other. Specify:_______________________________________________                                     17c.   $_____________________
                                                                                                                                        0.00
        17d. Other. Specify:_______________________________________________                                     17d.   $_____________________
                                                                                                                                        0.00

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.                    0.00
                                                                                                                       $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                           19.
                                                                                                                                        0.00
                                                                                                                       $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                        20a.   $_____________________
                                                                                                                                        0.00
        20b. Real estate taxes                                                                                  20b.   $_____________________
                                                                                                                                        0.00
        20c. Property, homeowner’s, or renter’s insurance                                                       20c.   $_____________________
                                                                                                                                        0.00
        20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________
                                                                                                                                        0.00
        20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________
                                                                                                                                        0.00


      Official Form 106J                                         Schedule J: Your Expenses                                                   page 2
               Case 6:23-bk-14843-WJ                    Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                                  Desc
                                                        Main Document Page 43 of 70
                   Hugo Leon
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 4,654.00
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 4,654.00
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       1,898.00
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 4,654.00
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                 -2,756.00
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
       Yes.        Explain here:




      Official Form 106J                                       Schedule J: Your Expenses                                                        page 3
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               Case 6:23-bk-14843-WJ                             Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                                                 Desc
                                                                 Main Document Page 45 of 70

 Fill in this information to identify your case:

                    Hugo Leon
 Debtor 1
                    First Name         Middle Name             Last Name

 Debtor 2
 (Spouse, if filing)   First Name        Middle Name             Last Name



 United States Bankruptcy Court for the: Central District of California

 Case number
 (if know)                                                                                                                                                         Check if this is
                                                                                                                                                                   an amended
                                                                                                                                                                   filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                        4/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
       Married
       Not married
 2. During the last 3 years, have you lived anywhere other than where you live now?
       No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
    property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and
    Wisconsin.)
       No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

 Part 2:       Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
       No
       Yes. Fill in the details.
                                                                           Debtor 1                                                 Debtor 2

                                                                           Sources of income         Gross income                   Sources of income         Gross income
                                                                           Check all that apply      (before deductions and         Check all that apply      (before deductions and
                                                                                                     exclusions)                                              exclusions)

         From January 1 of current year until the date                        Wages, commissions,                                      Wages, commissions,
         you filed for bankruptcy:                                            bonuses, tips      $ 14,185.00                           bonuses, tips      $
                                                                              Operating a business                                     Operating a business


         For last calendar year:                                              Wages, commissions,                                      Wages, commissions,
                                                                              bonuses, tips      $ 37,896.00                           bonuses, tips      $
         (January 1 to December 31, 2022
                                                                              Operating a business                                     Operating a business


         For the calendar year before that:                                   Wages, commissions,                                      Wages, commissions,
                                                                              bonuses, tips      $ 139,640.00                          bonuses, tips      $
         (January 1 to December 31, 2021
                                                                              Operating a business                                     Operating a business


 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
    unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
    and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
    Debtor 1.

Official Form 107                                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1 of 6
                Case 6:23-bk-14843-WJ                        Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                                   Desc
Debtor          Hugo Leon
               First Name     Middle Name    Last Name
                                                             Main Document Page 46 of 70      Case number(if known)




   List each source and the gross income from each source separately. Do not include income that you listed in line 4.
         No
         Yes. Fill in the details.
                                      Debtor 1                                                                Debtor 2

                                      Sources of income                   Gross income from each              Sources of income       Gross income from each
                                      Describe below.                     source                              Describe below.         source
                                                                          (before deductions and                                      (before deductions and
                                                                          exclusions)                                                 exclusions)
 From January 1 of current
 year until the date you
 filed for bankruptcy:
 For last calendar year:

 (January 1 to December 31,
  2022
 For the calendar year
 before that:                           Unemployment                       $ 15,558.00

 (January 1 to December 31,
  2021


 Part 3:        List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

         No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             “incurred by an individual primarily for a personal, family, or household purpose.”

               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

               * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders
   include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
   corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
   agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
   such as child support and alimony.
         No.
         Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
   insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.
         Yes. List all payments that benefited an insider.


 Part 4:        Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
   and contract disputes.
         No
         Yes. Fill in the details.

Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 2 of 6
                Case 6:23-bk-14843-WJ                        Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                                       Desc
Debtor          Hugo Leon
               First Name     Middle Name    Last Name
                                                             Main Document Page 47 of 70      Case number(if known)



                                                            Nature of the case                      Court or agency                               Status of the
                                                                                                                                                  case

    Case title:                                             Judgment; Date filed:                                                                     Pending
    Citibank, N.A. v. Hugo H. Leon                          04/01/2021                              Superior Court of California, County of San       On appeal
    Case number: CIVSB2109101                                                                       Court Name
                                                                                                                                                      Concluded
                                                                                                    Bernardiono

                                                                                                    247 West Third St.
                                                                                                    Number
                                                                                                               Street
                                                                                                    San Bernardino CA           92415
                                                                                                    City                State   ZIP Code
    Case title:                                             Judgment; Date filed:                                                                     Pending
    On Deck Capital, Inc. v. T&S                            05/05/2021                              Superior Court of California, County of San       On appeal
    Transport Inc.; Hugo Leon                                                                       Court Name
    Case number: CIVSB2110946                                                                                                                         Concluded
                                                                                                    Bernardiono

                                                                                                    247 West Third St.
                                                                                                    Number
                                                                                                               Street
                                                                                                    San Bernardino CA           92415
                                                                                                    City                State   ZIP Code

10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
   Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.

11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
   from your accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details

12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
   creditors, a court-appointed receiver, a custodian, or another official?
         No
         Yes

 Part 5:        List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         No
         Yes. Fill in the details for each gift.

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
         Yes. Fill in the details for each gift or contribution.


 Part 6:        List Certain Losses

15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
   gambling?
         No
         Yes. Fill in the details.


 Part 7:        List Certain Payments or Transfers

16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
         No
         Yes. Fill in the details.




Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 3 of 6
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Debtor            Hugo Leon
                 First Name       Middle Name     Last Name
                                                                  Main Document Page 48 of 70      Case number(if known)



                                                                    Description and value of any property transferred                Date payment or Amount of
                                                                                                                                     transfer was    payment
                                                                                                                                     made
                                                                   Attorney's fee.                                                                    $ 2,500.00
          Atlantis Law Firm                                                                                                                           $
          Person Who Was Paid
          10604 Trademark Pkwy N, Ste 300
          Number
                         Street
          Rancho Cucamonga CA                   91730
          City                         State    ZIP Code


          Email or website address


          Person Who Made the Payment, if Not You


17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone who promised to help you deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.
         No
         Yes. Fill in the details.

18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
   property transferred in the ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
   Do not include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.
                                                                 Description and value of                Describe any property or payments received   Date transfer
                                                                 property transferred                    or debts paid in exchange                    was made

                                                                  Sold 2019 Toyota Tundra for                                                          06/01/2023
          Third party                                             balance owed. No proceeds
          Person Who Received Transfer                            from sales., $0.00


          Number         Street
          .          .        .
          City       State    ZIP Code

          Person’s relationship to you Brother



19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
   you are a beneficiary?(These are often called asset-protection devices.)
         No
         Yes. Fill in the details.
                                                                        Describe any property or payments received or debts paid in exchange Date transfer
                                                                                                                                             was made

                                                                      14181 Southwood Dr, Fontana, CA 92337, $0.00                                     02/05/2020
              Name of trust The Aryshem Living Trust




 Part 8:          List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
   closed, sold, moved, or transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.

21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
   securities, cash, or other valuables?
         No
         Yes. Fill in the details.



Official Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 4 of 6
                 Case 6:23-bk-14843-WJ                          Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                                               Desc
Debtor           Hugo Leon
                First Name        Middle Name   Last Name
                                                                Main Document Page 49 of 70      Case number(if known)



22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
         No
         Yes. Fill in the details.


 Part 9:         Identify Property You Hold or Control for Someone Else

23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
   or hold in trust for someone.
         No
         Yes. Fill in the details.


 Part 10:         Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:
    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
         No
         Yes. Fill in the details.

25.Have you notified any governmental unit of any release of hazardous material?
         No
         Yes. Fill in the details.

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
         No
         Yes. Fill in the details.


 Part 11:         Give Details About Your Business or Connections to Any Business

27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)
              A partner in a partnership
              An officer, director, or managing executive of a corporation
              An owner of at least 5% of the voting or equity securities of a corporation
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.

                                                                     Describe the nature of the business                           Employer Identification number
         T&S Transport, Inc.                                                                                                       Do not include Social Security number or
         Business Name
                                                                    Trucking company.                                              ITIN.
         14181 Southwood Dr.
                                                                                                                                   EIN: 8   1   –4   9   6   3   4   2   6
         Number                                                       Name of accountant or bookkeeper
                       Street                                                                                                      Dates business existed
         Fontana CA             92337
         City         State     ZIP Code                                                                                           From 01/11/2017 To Current


28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
   institutions, creditors, or other parties.
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.


Official Form 107                                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 5 of 6
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                 Case 6:23-bk-14843-WJ                           Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                         Desc
                                                                 Main Document Page 51 of 70

  Fill in this information to identify your case:

                     Hugo Leon
   Debtor 1
                     First Name          Middle Name             Last Name

   Debtor 2
   (Spouse, if filing)   First Name        Middle Name             Last Name



   United States Bankruptcy Court for the: Central District of California

   Case number
   (if known)
                                                                                                                                          Check if this is
                                                                                                                                          an amended
                                                                                                                                          filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                       12/15

If you are an individual filing under chapter 7, you must fill out this form if:
◾ creditors have claims secured by your property, or
◾ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known).

 Part 1:       List Your Creditors Who Have Secured Claims


 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
                                                                     What do you intend to do with the property     Did you claim the property as
    Identify the creditor and the property that is collateral
                                                                     that secures a debt?                           exempt on Schedule C?
   Creditor's                                                                         Surrender the property.                   No
   name:                 First Home Bank
                                                                                      Retain the property and redeem it.        Yes
   Description of 2012 Utility Trailer                                                Retain the property and enter into a
   property
   securing debt:                                                                     Reaffirmation Agreement.
                                                                                      Retain the property and [explain]:



   Creditor's                                                                         Surrender the property.                   No
   name:                 First Home Bank
                                                                                      Retain the property and redeem it.        Yes
   Description of 2013 Peterbilt                                                      Retain the property and enter into a
   property
   securing debt:                                                                     Reaffirmation Agreement.
                                                                                      Retain the property and [explain]:



   Creditor's                                                                         Surrender the property.                   No
   name:                 Pennymac Loan Services
                                                                                      Retain the property and redeem it.        Yes
   Description of 14181 Southwood Dr.                                                 Retain the property and enter into a
   property
   securing debt:                                                                     Reaffirmation Agreement.
                                                                                      Retain the property and [explain]:
                                                                                      Continue making payments




 Official Form 108                                              Statement of Intention for Individuals Filing Under Chapter 7                      page 1 of 2
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 Fill in this information to identify your case:
                                                               Main Document Page 53 of 70
                                                                                                          Check one box only as directed in this form and in
                                                                                                          Form 122A-1Supp:
 Debtor 1         Hugo   Leon
                  __________________________________________________________________
                     First Name                  Middle Name                   Last Name
                                                                                                          
                                                                                                          ✔ 1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                  Middle Name                  Last Name                    2. The calculation to determine if a presumption of
                                                                                                                abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: ____________
                                         Central DistrictDistrict
                                                            of California
                                                                  of _______________
                                                                                                                Means Test Calculation (Official Form 122A–2).
 Case number        ___________________________________________                                            3. The Means Test does not apply now because of
 (If known)
                                                                                                                qualified military service but it could apply later.


                                                                                                           Check if this is an amended filing

Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                 04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:         Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
        
        ✔ Not married. Fill out Column A, lines 2-11.
         Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
         Married and your spouse is NOT filing with you. You and your spouse are:
           Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
           Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                    spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                            Column A             Column B
                                                                                                            Debtor 1             Debtor 2 or
                                                                                                                                 non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                       $_________           $__________

   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.                                                                                 $_________           $__________

   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.                                               $_________           $__________

   5. Net income from operating a business, profession,
                                                        Debtor 1                            Debtor 2
      or farm
      Gross receipts (before all deductions)            $______                              $______
        Ordinary and necessary operating expenses                         – $______        – $______
                                                                                                        Copy
      Net monthly income from a business, profession, or                    $______         $______     here$_________           $__________
      farm
   6. Net income from rental and other real property                         Debtor 1       Debtor 2
      Gross receipts (before all deductions)                                 $______        $______
        Ordinary and necessary operating expenses                         – $______        – $______
                                                                                                       Copy
        Net monthly income from rental or other real property                $______        $______    here$_________            $__________
  7. Interest, dividends, and royalties                                                                      $_________           $__________



Official Form 122A-1                                Chapter 7 Statement of Your Current Monthly Income                                                    page 1
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                                                                                   Main Document Page 54 of 70

Debtor 1          Hugo   Leon
                  _______________________________________________________                                                    Case number (if known)_____________________________________
                  First Name              Middle Name                      Last Name



                                                                                                                                   Column A                    Column B
                                                                                                                                   Debtor 1                    Debtor 2 or
                                                                                                                                                               non-filing spouse

   8. Unemployment compensation                                                                                                      $__________                  $___________
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ................................ 
           For you ..................................................................................   $______________
           For your spouse ..................................................................           $______________
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the United
      States Government in connection with a disability, combat-related injury or disability, or
      death of a member of the uniformed services. If you received any retired pay paid
      under chapter 61 of title 10, then include that pay only to the extent that it does not
      exceed the amount of retired pay to which you would otherwise be entitled if retired
      under any provision of title 10 other than chapter 61 of that title.                                                           $__________                  $___________
   10. Income from all other sources not listed above. Specify the source and amount. Do
       not include any benefits received under the Social Security Act; payments made under
       the Federal law relating to the national emergency declared by the President under the
       National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus
       disease 2019 (COVID-19); payments received as a victim of a war crime, a crime
       against humanity, or international or domestic terrorism; or compensation, pension,
       pay, annuity, or allowance paid by the United States Government in connection with a
       disability, combat-related injury or disability, or death of a member of the uniforces. If
       necessary, list other sources on a separate page and put the total below.

       ______________________________________                                                                                        $_________                   $___________
       ______________________________________                                                                                        $_________                   $___________

       Total amounts from separate pages, if any.                                                                                + $_________                  + $___________

   11. Calculate your total current monthly income. Add lines 2 through 10 for each                                                                        +                           = $__________
       column. Then add the total for Column A to the total for Column B.                                                            $_________                   $___________
                                                                                                                                                                                         Total current
                                                                                                                                                                                         monthly income
   Part 2:          Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a.      Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here          $__________

                 Multiply by 12 (the number of months in a year).                                                                                                                       x 12
       12b.      The result is your annual income for this part of the form.                                                                                                   12b.     $__________

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.

       Fill in the number of people in your household.


       Fill in the median family income for your state and size of household. ................................................................................................. 13.     $__________
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.


   14. How do the lines compare?


       14a.  Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                     Go to Part 3. Do NOT fill out or file Official Form 122A-2.


       14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.


Official Form 122A-1                                                Chapter 7 Statement of Your Current Monthly Income                                                                    page 2
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                  Case 6:23-bk-14843-WJ             Doc 1 Filed 10/19/23 Entered 10/19/23 15:19:33                                             Desc
    Fill in this information to identify your case: Main Document Page 56 of 70

    Debtor 1           Hugo Leon
                      __________________________________________________________________
                        First Name              Middle Name               Last Name

    Debtor 2            ________________________________________________________________
    (Spouse, if filing) First Name              Middle Name               Last Name


    United States Bankruptcy Court for the: Central
                                            ______________________
                                                    District of California District of __________

    Case number         ___________________________________________
    (If known)

                                                                                                              Check if this is an amended filing

 Official Form 122A─1Supp
St a t e m e nt of Ex e m pt ion from Pre sum pt ion of Abuse U nde r § 7 0 7 (b)(2 )                                                                           12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this
is required by 11 U.S.C. § 707(b)(2)(C).


Pa rt 1 :        I de nt ify t he K ind of De bt s Y ou H a ve

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an individual primarily for a
   personal, family, or household purpose.” Make sure that your answer is consistent with the answer you gave on line 16 of the Voluntary Petition for
   Individuals Filing for Bankruptcy (Official Form 101).

     
     ✔
       No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
                  this supplement with the signed Form 122A-1.
      Yes. Go to Part 2.
Pa rt 2 :        De t e rm ine Whe t he r M ilit a ry Se rvic e Provisions Apply t o Y ou


2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
 No. Go to line 3.
 Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                  10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                   No. Go to line 3.
                   Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                        Then submit this supplement with the signed Form 122A-1.
3. Are you or have you been a Reservist or member of the National Guard?
           No. Complete Form 122A-1. Do not submit this supplement.
           Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
           No. Complete Form 122A-1. Do not submit this supplement.
           Yes. Check any one of the following categories that applies:
                  I was called to active duty after September 11, 2001, for at least               If you checked one of the categories to the left, go to
                     90 days and remain on active duty.                                             Form 22A-1. On the top of page 1 of Form 22A-1, check
                                                                                                    box 3, The Means Test does not apply now, and sign
                  I was called to active duty after September 11, 2001, for at least               Part 3. Then submit this supplement with the signed
                     90 days and was released from active duty on _______________,
                                                                                                    Form 22A-1. You are not required to fill out the rest of
                     which is fewer than 540 days before I file this bankruptcy case.
                                                                                                    Official Form 22A-1 during the exclusion period. The
                  I am performing a homeland defense activity for at least 90 days.                exclusion period means the time you are on active duty
                                                                                                    or are performing a homeland defense activity, and for
                  I performed a homeland defense activity for at least 90 days,                    540 days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                     ending on _______________, which is fewer than 540 days before
                                                                                                    If your exclusion period ends before your case is closed,
                     I file this bankruptcy case.
                                                                                                    you may have to file an amended form later.




Official Form 122A-1Supp                          Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                     page 1
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Amex
P.o. Box 981537
El Paso, TX 79998


Biehl & Biehl
PO Box 87410
Carol Stream, IL 60188


Capital One
Po Box 31293
Salt Lake City, UT 84131


Capital One Bank Usa N
Po Box 31293
Salt Lake City, UT 84131


Ccb/Orbitz
Po Box 182120
Columbus, OH 43218


Ccb/Tyvisa
P.O. Box 183003
Columbus, OH 43218


Citibank, N.A.
C/O The Moore Law Group
3710 S Susan St, Ste 210
Santa Ana, CA 92704


Citicards Cbna
Po Box 6217
Sioux Falls, SD 57117
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Dnf Assoc
2351 N Forest Road
Getzville, NY 14068


Enhanced Recovery Co L
Po Box 57547
Jacksonville, FL 32241


Fb&T/Mercury
Po Box 84064
Columbus, GA 31908


First Home Bank
C/O BayFirst National Bank
700 Central Ave
Saint Petersburg, FL 33701


Hy Cite/royal Prestige
333 Holtzman Rd
Madison, WI 53713


Jefferson Capital Syst
16 Mcleland Rd
Saint Cloud, MN 56303


Kabbage
C/O Lincoln & Morgan
600 W Broadway
Ste 700
San Diego, CA 92101


Kohls/capone
Po Box 3115
Milwaukee, WI 53201
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Lincoln & Morgan
600 W Broadway Ste 700
San Diego, CA 92101


Macys/dsnb
Po Box 8218
Mason, OH 45040


Midland Credit Managem
320 East Big Beaver
Troy, MI 48083


Nordstrom/td Bank Usa
13531 E. Caley Ave
Englewood, CO 80111


On Deck Capital Inc.
C/O Gurstel Law Firm, PC
3914 Murphy Canyon Rd.
Ste A162
San Diego, CA 92123


On Deck Capital, Inc.
C/O Gurstel Law Firm
3914 Murphy Canyon Rd, Ste A162
San Diego, CA 92123


Pennymac Loan Services
6101 Condor Dr Ste 200
Moorpark, CA 93021


Pennymac Loan Services
Po Box 514387
Los Angeles, CA 90051
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Portfolio Recov Assoc
120 Corporate Blvd Ste 100
Norfolk, VA 23502


Royal Prst
333 Holtzman Rd
Madison, WI 53713


Sears/Cbna
13200 Smith Rd
Cleveland, OH 44130


Syncb/Carecr
C/O Po Box 965036
Orlando, FL 32896


Syncb/Jcp
Po Box 965007
Orlando, FL 32896


Syncb/Livspc
C/O Po Box 965036
Orlando, FL 32896


Syncb/lowes
Po Box 956005
Orlando, FL 32896


Syncb/Peac
C/O P.O. Box 965036
Orlando, FL 32896-5036
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Syncb/Ppc
Po Box 965005
Orlando, FL 32896


Syncb/Walmart
Attn: Bankruptcy
PO Box 965064
Orlando, FL 32896


Td Bank Usa/targetcred
Po Box 673
Minneapolis, MN 55440


Tdrcs/Samsung
1000 Macarthur Blvd
Mahwah, NJ 07430


The Bureaus Inc
650 Dundee Road
Northbrook, IL 60062


The Moore Law Group
3710 S. Susan St.
Ste 210
Santa Ana, CA 92704


The Moore Law Group APC
PO Box 25145
Santa Ana, CA 92799


Toyota Motor Credit
Po Box 9786
Cedar Rapids, IA 52409
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US Dept of Ed/glelsi
2401 International Lane
Madison, WI 53704


Uscb America
355 S Grand Ave Ste 3200
Los Angeles, CA 90071


Wells Fargo
Credit Bureau Dispute Resoluti
Des Moines, IA 50306


Wf Crd Svc
Po Box 14517
Des Moines, IA 50306
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                Chapter 7:        Liquidation
 This notice is for you if:

       You are an individual filing for bankruptcy,                      $245     filing fee
        and                                                                $78     administrative fee
                                                                +          $15     trustee surcharge
       Your debts are primarily consumer debts.
                                                                          $338     total fee
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                  Chapter 7 is for individuals who have financial
        primarily for a personal, family, or                    difficulty preventing them from paying their
        household purpose.”                                     debts and who are willing to allow their non-
                                                                exempt property to be used to pay their
                                                                creditors. The primary purpose of filing under
                                                                chapter 7 is to have your debts discharged. The
The types of bankruptcy that are                                bankruptcy discharge relieves you after
available to individuals                                        bankruptcy from having to pay many of your
                                                                pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                     be enforced after discharge. For example, a
Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                mortgage or repossess an automobile.
       Chapter 7 — Liquidation
                                                                However, if the court finds that you have
       Chapter 11 — Reorganization
                                                                committed certain kinds of improper conduct
                                                                described in the Bankruptcy Code, the court
       Chapter 12 — Voluntary repayment plan
                                                                may deny your discharge.
                     for family farmers or
                     fishermen
                                                                You should know that even if you file
                                                                chapter 7 and you receive a discharge, some
       Chapter 13 — Voluntary repayment plan
                                                                debts are not discharged under the law.
                     for individuals with regular
                                                                Therefore, you may still be responsible to pay:
                     income
                                                                    most taxes;
You should have an attorney review your                             most student loans;
decision to file for bankruptcy and the choice of
                                                                    domestic support and property settlement
chapter.
                                                                     obligations;




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   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
   fraud or theft;
                                                                you may choose to proceed under another
   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                                If you are an individual filing for chapter 7
   intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
   death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167    filing fee
If your income is above the median for your                     +          $571    administrative fee
state, you must file a second form —the                                  $1,738    total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If



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Read These Important Warnings


Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.
Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
and following all of the legal requirements.
You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200   filing fee                                    future earnings. If the court approves your
+           $78   administrative fee                            plan, the court will allow you to repay your
           $278   total fee
                                                                debts, as adjusted by the plan, within 3 years or
                                                                5 years, depending on your income and other
Similar to chapter 13, chapter 12 permits
                                                                factors.
family farmers and fishermen to repay their
debts over a period of time using future                        After you make all the payments under your
earnings and to discharge some debts that are                   plan, many of your debts are discharged. The
not paid.                                                       debts that are not discharged and that you may
                                                                still be responsible to pay include:
                                                                    domestic support obligations,
Chapter 13: Repayment plan for
                                                                    most student loans,
            individuals with regular
            income                                                  certain taxes,
                                                                    debts for fraud or theft,
          $235    filing fee                                        debts for fraud or defalcation while acting
+          $78    administrative fee                                 in a fiduciary capacity,
          $313    total fee
                                                                    most criminal fines and restitution
                                                                     obligations,
Chapter 13 is for individuals who have regular
income and would like to pay all or part of                         certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
and to discharge some debts that are not paid.                      certain debts for acts that caused death or
You are eligible for chapter 13 only if your                         personal injury, and
debts are not more than certain dollar amounts                      certain long-term secured debts.
set forth in 11 U.S.C. § 109.


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                                                                A married couple may file a bankruptcy case
    Warning: File Your Forms on Time                            together—called a joint case. If you file a joint
                                                                case and each spouse lists the same mailing
    Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
    requires that you promptly file detailed information
                                                                bankruptcy court generally will mail you and
    about your creditors, assets, liabilities, income,
    expenses and general financial condition. The               your spouse one copy of each notice, unless
    court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
    not file this information within the deadlines set by       each spouse receive separate copies.
    the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court.

    For more information about the documents and                Understand which services you
    their deadlines, go to:                                     could receive from credit
    http://www.uscourts.gov/forms/bankruptcy-forms              counseling agencies

                                                                The law generally requires that you receive a
                                                                credit counseling briefing from an approved
                                                                credit counseling agency. 11 U.S.C. § 109(h).
Bankruptcy crimes have serious
                                                                If you are filing a joint case, both spouses must
consequences
                                                                receive the briefing. With limited exceptions,
     If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
      assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
      under penalty of perjury—either orally or                 is usually conducted by telephone or on the
      in writing—in connection with a                           Internet.
      bankruptcy case, you may be fined,
      imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                generally must complete a financial
      All information you supply in connection                 management instructional course before you
      with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
      examination by the Attorney General acting                case, both spouses must complete the course.
      through the Office of the U.S. Trustee, the
      Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
      offices and employees of the U.S.                         provide both the briefing and the instructional
      Department of Justice.                                    course from: http://www.uscourts.gov/services-
                                                                forms/bankruptcy/credit-counseling-and-debtor-
Make sure the court has your                                    education-courses.
mailing address                                                 In Alabama and North Carolina, go to:
The bankruptcy court sends notices to the                       http://www.uscourts.gov/services-
mailing address you list on Voluntary Petition                  forms/bankruptcy/credit-counseling-and-
for Individuals Filing for Bankruptcy (Official                 debtor-education-courses.
Form 101). To ensure that you receive
                                                                If you do not have access to a computer, the
information about your case, Bankruptcy
                                                                clerk of the bankruptcy court may be able to
Rule 4002 requires that you notify the court of
                                                                help you obtain the list.
any changes in your address.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)      page 4
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                                      United States Bankruptcy Court
                                                              Central District of California
                                               __________________________________
     In re Hugo Leon
                                                                                                             Case No. _______________

    Debtor                                                                                                            7
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         2,500.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 2,500.00
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   0.00
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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      d. [Other provisions as needed]
Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of reaffirmation agreements and
applications as needed; preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of liens on household goods.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or any other adversary proceeding.
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                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for
          payment to me for representation of the debtor(s) in this bankruptcy proceeding.

       10/17/2023                       /s/ Keith Nguyen, 267209
     _____________________             _________________________________________
     Date                                    Signature of Attorney
                                        Atlantis Law Firm
                                       _________________________________________
                                             ​Name of law firm
                                        10604 Trademark Pkwy N
                                        Ste 300
                                        Rancho Cucamonga, CA 91730
